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                             **NOT FOR PRINTED PUBLICATION**

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 SECURITIES AND EXCHANGE                          §
 COMMISSION,                                      §
                                                  §
                Plaintiff,                        §
                                                  §
 v.                                               §     CIVIL ACTION NO. 4:11cv655
                                                  §     (Judge Clark/Judge Mazzant)
 JAMES G. TEMME and                               §
 STEWARDSHIP FUND, LP,                            §
                                                  §
                Defendants.                       §

  ORDER GRANTING RECEIVER’S FIRST INTERIM APPLICATION TO ALLOW AND
          PAY PROFESSIONAL FEES TO FIGARI & DAVENPORT LLP

        Before the court is the Receiver’s First Interim Application to Allow and Pay

 Professional Fees to Figari & Davenport, LLP (the“Application”) [Doc. #283], which requests

 reimbursement for fees incurred for the time period from March 1 ,2013, through September

 30, 2013. The Receiver seeks to pay Figari & Davenport, LLP total compensation of

 $28,020.56

        No opposition has been filed to this Application. Counsel for the Commission has

 reviewed the fee application and been afforded the opportunity to object, but does not object

 to the relief sought. Based upon a review of the Application and the pleadings on file, the

 court finds and concludes that (a) the relief requested in the Application is in the best interests

 of the Receiver and his receivership estates; (b) proper and adequate notice of the Application

 has been given and that no other or further notice is necessary; and (c) good and sufficient

 cause exists for the granting of the relief requested in the Application after having given due


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 deliberation upon the Application and all of the proceedings had before the court in

 connection with the Application. Therefore, it is hereby ORDERED that:

        I.      The Application is GRANTED.

        ii.     Receiver is authorized to pay Figari & Davenport, LLP total compensation of

 $28,020.56 from March 1, 2013, through September 30, 2013.

         So ORDERED and SIGNED this 14 day of November, 2013.




                                                       ___________________________________
                                                       Ron Clark, United States District Judge




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